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                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

DISPLAY TECHNOLOGIES, LLC,
                                                        Civil Action No. 2:17-cv-00068
                    Plaintiff,
              v.                                       CONSOLIDATED LEAD CASE

ZTE (USA) INC.,                                          JURY TRIAL DEMANDED

                      Defendant.
_____________________________________/

                             JOINT PREHEARING STATEMENT

       Pursuant to Patent Rule 4-3 the parties file this Joint Claim Construction and Prehearing

Statement and would show the Court:

       Counsel for Display Technologies, LLC and BLU Products, Inc. (the sole remaining

defendant) have conferred as required by the Rules and have agreed that there are no terms that

require construction. Accordingly there is no need for the Court to conduct a Claim Construction

Hearing.

                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 1st day of November, 2017, all counsel of record
 were served with this document in accordance with the applicable Federal Rules of Civil
 Procedure.


                                           /s/ Thomas C. Wright
                                           Thomas C. Wright




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